    Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 1 of 24. PageID #: 60710




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



IN RE: EAST PALESTINE TRAIN DERAILMENT                               Case No. 4:23-CV-00242-BYP

                                                                     JUDGE BENITA Y. PEARSON


                                       JOINT STATUS REPORT

         Pursuant to the Court’s March 26, 2025 Order (ECF 897), Third-Party Plaintiffs Norfolk

Southern Corporation and Norfolk Southern Railway Company (together, “Norfolk Southern”),

Third-Party Defendant GATX Corporation (“GATX”), and OxyVinyls LP (“OxyVinyls”)

(collectively, the “Parties”) have conferred and set forth their positions below on the items

identified by the Court.

    I.      Amount of Time Each Party Requests to be Allocated to Each Party for Their
            Respective Opening Statements

            A. GATX1

         GATX respectfully submits that GATX and OxyVinyls should each be granted 60 minutes

for opening statements, and Norfolk Southern should be granted 90 minutes. GATX understands

that Norfolk Southern requests double the amount of time for opening that GATX and OxyVinyls

receive; however, such a rule providing Norfolk Southern with double the time would be

inappropriate given the overlap in issues in the case. Many issues in this case—such as the

background information regarding the derailment and Norfolk Southern’s response thereto—are

overlapping and apply to all the Parties, and therefore will not need to be explained twice by



1
 This submission contains the individual positions of the Parties. GATX disagrees with and objects to Norfolk
Southern’s characterization of the prior discussions among the parties regarding these issues. GATX has included
Norfolk Southern’s position in this joint submission, without GATX having the opportunity to respond.

                                                       1
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 2 of 24. PageID #: 60711




Norfolk Southern. Therefore, Norfolk Southern will not require double the time of the other

parties. Such a schedule ensures a balanced and equitable trial process, and these time limits are

proportional to the amount of total overall time granted by the Court for evidence in the matter.

             B. Norfolk Southern

       Norfolk Southern defers to the Court on the appropriate overall time for opening statements

but requests an even split of time for opening statements between the two sides—half for Norfolk

Southern, and half for Third-Party Defendants. That is, if the Court allocates 45 minutes each for

GATX and OxyVinyls’s opening statements, Norfolk Southern requests 90 minutes for its opening

statement.

       Norfolk Southern requests an equal allocation for openings for the same reasons Norfolk

Southern requested—and the Court ordered—an equal allocation for overall trial time. Norfolk

Southern is litigating two separate cases against Third-Party Defendants: the case against GATX

concerns the failed bearing on GATX’s Car 23, which caused the derailment; the case against

OxyVinyls concerns its Safety Data Sheet, and the events arising from the derailment and leading

to the decision to vent-and-burn. Moreover, as the Third-Party Plaintiff, Norfolk Southern bears

the burden of introducing the key facts and issues in this case to the jury and the Court for the first

time during opening statements. Given the breadth and depth of the issues Norfolk Southern must

cover, against two different Third-Party Defendants, an allocation of double the time for opening

statements to Norfolk Southern is not only fair but necessary to ensure a complete and fair

presentation of its case.

       Third-Party Defendants initially proposed that the Court allocate one hour to Norfolk

Southern, one hour to GATX, and one hour to OxyVinyls. That allocation of time would require

Norfolk Southern to divide its one hour opening to present on the two separate cases against Third-



                                                  2
    Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 3 of 24. PageID #: 60712




Party Defendants, while Third Party Defendants will each have double the time to present their

response to Norfolk Southern’s case against them. That structure is particularly unfair where

Norfolk Southern has the burden of proof as to each Third-Party Defendant. GATX’s position that

it should have 60 minutes and Norfolk Southern 90 minutes is also unfair for the same reasons.

             C. OxyVinyls

          OxyVinyls requests 60 minutes for its opening statement, and takes no position on the

amount of time necessary or appropriate for the other parties.

    II.      Exhibits / Demonstrative Evidence

          With respect to demonstratives used in direct and cross examination, the Parties

respectfully request the Court enter the Parties’ joint proposed stipulation on demonstrative

evidence (ECF 889) filed on March 25, 2025, thereby amending the Court’s February 12, 2024

Civil Trial Order (ECF 392) regarding the sharing of demonstratives two days before the start of

trial.

          Under the joint proposed stipulation, the term “demonstrative” shall include power-points

and graphics and animation demonstratives, but does not include scans, images or copies of or

from exhibits or deposition transcripts or underlining, highlighting, or similar emphasis on such

exhibits or deposition transcripts, or power-points or other media that contain only an image of an

exhibit (or portion thereof) with such highlighting, underlining or similar emphasis (e.g., not

including titles or other illustrations).




                                                  3
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 4 of 24. PageID #: 60713




   III.      Identification of Any Objections a Party Has to Particular Exhibits(s),
             Demonstrative Evidence, or Deposition Testimony Another Party Seeks to Use
             During Opening Statements

             A. GATX

          For purposes of demonstratives used in opening statement, under the definition of

“demonstratives” outlined in the Court’s Civil Trial Order (ECF 392), the parties need only to

exchange “demonstrative evidence such as models or sketches” to be used in opening statements.

          It is GATX’s position that, consistent with the Court’s definitions, the Parties exchange

such demonstratives, but not portions of exhibits or deposition transcripts they intend to use during

opening statement. The Civil Trial Order speaks only to the exchange of demonstratives. GATX

does not believe that the Court’s Civil Trial Order requires the parties to, in effect, preview their

entire opening statement by requiring an exchange of exhibits and testimony that the party plans

to use in opening statement. The Court has instituted a process for motions in limine (to inform

the parties about what categories of evidence are not admissible), which are guiding principles the

Parties should follow with respect to opening statements. The Court should not be required to

determine in a vacuum before opening statements (without relevant context during witness

examinations) which exhibits will be admitted during the course of the trial.

          Therefore, for purposes of opening statement, GATX respectfully submits, consistent with

the Court’s Civil Trial Order, that, although the Parties are required to exchange demonstratives

in advance of opening statements, the Parties may use (and are not required to exchange) excerpts

of deposition transcripts they intend to play if there are no pending objections to the portion of the

testimony or the Court has entered a ruling regarding the testimony’s admissibility.

             A. OxyVinyls

          OxyVinyls agrees with GATX’s position on these issues.



                                                  4
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 5 of 24. PageID #: 60714




             B. Norfolk Southern

        Norfolk Southern respectfully submits that the parties should exchange the demonstratives,

and identify the exhibits and deposition testimony a party seeks to use during opening statements

on Sunday, March 30 according to the following schedule:

        •    1:30 PM: The parties exchange demonstratives, and identify exhibits and deposition

             testimony to be used in opening statements.

        •    3:30 PM: The parties exchange objections

        •    4:30 PM: The parties meet and confer.

For any disputes the parties are unable to resolve by 8:00 PM, Norfolk Southern requests that the

parties bring before the Court for resolution outside the presence of the jury the morning of the

first day of trial.

        Norfolk Southern has been attempting to engage GATX and OxyVinyls to reach agreement

on a trial disclosure procedure in order to facilitate an orderly presentation of evidence, that will

permit the Court to resolve outstanding objections outside the presence of the jury. Norfolk

Southern first sent a proposed stipulation on trial disclosure times to both Third-Party Defendants

on March 19. Third-Party Defendants sent revisions to that proposed stipulation on March 21.

Norfolk Southern sent its further revisions, which included the above proposed disclosure schedule

for openings, to GATX and OxyVinyls on March 24. During a meet and confer the same day,

GATX and OxyVinyls refused to agree on exchange times for openings—or exchange times for

any other trial disclosures—because (1) the parties did not agree on the time allocated for opening

statements and (2) Norfolk Southern did not agree to Defendants’ position that any deposition

testimony and exhibits could be used in opening statements without any prior disclosure to allow

the Court to resolve any objections prior to opening statements. During the meet and confer,


                                                 5
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 6 of 24. PageID #: 60715




Norfolk Southern explained that the parties’ disagreements over what material should be disclosed

for opening statements had no bearing on an agreement for disclosure times, and that the parties

should agree on disclosure times for openings, even while their substantive disputes are pending,

to facilitate the fair and orderly trial presentation. GATX and OxyVinyls did not agree.

       Norfolk Southern sets forth its position on these two issues below:

       First, for the time allocation for opening statements, as explained above, Norfolk Southern

defers to the Court on the appropriate overall time for openings statements but requests an even

split of time for opening statements between the two sides—half for Norfolk Southern, and half

for Third-Party Defendants.

       Second, Norfolk Southern does not agree that the parties may freely use deposition

testimony and exhibits during opening statements without disclosure to allow the Court to resolve

any outstanding objections. As Norfolk Southern explained during the parties’ meet and confer, a

party should identify the evidence it intends to use in openings, including exhibits and deposition

testimony, so that the other party can raise any objections prior to opening statements for resolution

by the Court. Third-Party Defendants’ proposal that the parties should be free to use any exhibit

(whether objected to or not) and any portion of deposition testimony (regardless of the context or

whether it is a complete and accurate excerpt) is wholly unworkable. Disclosure will allow the

parties to meet and confer in good faith to resolve any objections and narrow the disputes for the

Court’s consideration and resolution before opening statements. Third-Party Defendants proposal

(no disclosure) will place the parties in the position of having to object to prejudicial evidence

during the other side’s opening statement, which the Parties and the Court would no doubt want to

avoid. Norfolk Southern therefore proposes that parties disclose the demonstratives, and identify

any exhibits or deposition testimony they may use in openings in accordance with the schedule



                                                  6
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 7 of 24. PageID #: 60716




laid out above, which will permit the parties sufficient time to confer on and narrow disputes prior

to opening statements and raise any unresolved disputes with the Court prior to opening statements.

   IV.      Whether the Parties Should Play All Designated Deposition Testimony for Each
            Witness to the Jury at the Same Time

            A. GATX

         GATX proposes a procedure for deposition designations such that when multiple parties

have submitted affirmative designations for a given witness, the Parties will play all designated

deposition testimony for each witness to the jury at the same time. For timekeeping purposes,

GATX proposes the Parties will be responsible for providing the Court with the run time of their

respective designations for the witness.

         Playing all designations for each witness “all at once” avoids the need for time-consuming

“refreshers” regarding the role of each witness when designations are played separately. Kraft

Foods Glob., Inc. v. United Egg Producers, Inc., 2023 WL 6248266, at *4 (N.D. Ill. Sept. 19,

2023). By playing the designations all at once, the Court can ensure that “there w[ill] be no need

to remind the jury who the witness is, or replay what the jury heard before. … The continuity, and

the close proximity in time, would make things easier to understand for the jury.” Id. Other courts

have similarly required that deposition designations be played “at the same time,” see, e.g.,

Microspherix LLC v. Merck Sharp & Dohme Corp., 2023 WL 6613306, at *11 (D.N.J. Oct. 5,

2023); Ingenico Inc. v. Ioengine, LLC, 2022 WL 22835287, at *2 (D. Del. July 5, 2022) (same),

recognizing that providing a witness’s full testimony at once may “promote efficiency and

minimize juror confusion,” In re Gen. Motors LLC Ignition Switch Litig., 2017 WL 2829693, at

*4 (S.D.N.Y. June 30, 2017).

         In line with these cases, GATX submits that playing all deposition testimony for each

witness once, at the same time, is the most efficient and productive manner of evidence

                                                 7
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 8 of 24. PageID #: 60717




presentation for the jury. It would be confusing for the jury to hear snippets of testimony, devoid

of the context of other, related testimony. In many instances, to provide the necessary context, the

parties would be required to replay the same testimony later in their case in chief to then provide

the relevant context provided in counter-designations, which would lead to inefficiency and impact

the Parties’ time management. To play deposition testimony separately for each party would

further be inconsistent with how witness testimony is typically presented. Much the same way a

cross examination occurs at the same time a witness is on the stand, deposition designations should

be played for the jury contemporaneously.

           B. OxyVinyls

       OxyVinyls agrees with GATX on these issues.

           C. Norfolk Southern

       Norfolk Southern respectfully submits that an adverse party should not be permitted to play

its affirmative deposition designations during another party’s case-in-chief. Instead, an adverse

party should be limited to its counter-designations necessary for completeness in accordance with

the Federal Rules.

       By requesting that the Court permit them to play affirmative designations the first time that

witness’s testimony is played in court, Third-Party Defendants are effectively seeking to begin

introducing their affirmative evidence and case in the middle of Norfolk Southern’s case

presentation, which is improper, prejudicial, and highly disruptive to the flow of Norfolk

Southern’s case presentation.     While Norfolk Southern intends to significantly streamline the

designations it plays at trial and instead focus its trial presentation on live testimony, Third-Party

Defendants—in particular, GATX—intend to take the opposite approach by playing hours and

hours of deposition testimony. For example, GATX represented during the February 5 pretrial



                                                  8
    Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 9 of 24. PageID #: 60718




conference that it intends to play as many as 10 hours of deposition testimony, and Third-Party

Defendants designated hours and hours of testimony from their own witnesses, apparently

intending to play deposition testimony from those witnesses rather than bringing them live and

subjecting them to cross examination. See Dkts. 760 (GATX’s Notice of Filing of Affirmative

Deposition Designations designating Tyler Dickman, Debbie Long, Jesus Parada, William Rowe

John Sbragia, Jessica Stanfield, and Andrew Vanderford). Norfolk Southern objected to Third-

Party Defendants’ use at trial of the deposition transcripts and videos of their own current

employees given that neither party has shown that any of these witnesses will be unavailable

pursuant to Rule 32(a)(4), and Norfolk Southern was allocated only one hour to depose key

witnesses. See Dkts. 777 and 801.2 Yet, Third-Party Defendants are now not only seeking to

introduce such affirmative testimony—but also to do so in Norfolk Southern’s case-in-chief. That

proposal would be highly prejudicial to Norfolk Southern’s trial presentation.

        Moreover, if GATX and OxyVinyls are permitted to play their lengthy affirmative

designations during Norfolk Southern’s case in chief, this would lead to the scenario where

Norfolk Southern may play only a few minutes of testimony for a narrow purpose, yet GATX and

OxyVinyls would be permitted to play an hour or more of their affirmative designations during

Norfolk Southern’s trial presentation. This is fundamentally unfair. Moreover, the jury is likely

to become disengaged by the playing of such lengthy designations and may assume that the

decision to play such designations was Norfolk Southern’s since the designations were played in

Norfolk Southern’s case-in-chief. Such a disruption could also confuse the jury and dilute the




2
  GATX has placed Tyler Dickman, Jesus Parada, William Rowe, and Andrew Vanderford on the list of witnesses it
intends to call live at trial, see Dkt. 789 (GATX’s Amended Witness List, dated Mar. 14, 2025), and at the March
19, 2025 status conference, withdrew its designations for Mr. Rowe and its affirmative designations for Debbie
Long.

                                                       9
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 10 of 24. PageID #: 60719




impact of the presenting party’s case, making it more difficult for the jury to follow and understand

the evidence because of extensive and unrelated counter-designations.

        Rather, consistent with the Federal Rules, Norfolk Southern should be permitted to play

the designations relevant to its affirmative case, with GATX and OxyVinyls providing appropriate

counter-designations necessary for completeness. GAT and OxyVinyls will have the opportunity

to do the same during their case presentations. Nor will the testimony be duplicative—if the

testimony is a true counter necessary for completeness, it will be played along with Norfolk

Southern’s affirmative designation and would not need to be played again later in the trial.

        Accordingly, Norfolk Southern requests that the Court not allow Third-Party Defendants

to play their affirmative designations during Norfolk Southern’s case-in-chief, and instead limit

them to playing appropriate counter-designations necessary for completeness to avoid unnecessary

prejudice and disruption to Norfolk Southern’s trial presentation.

   V.      Whether the Court Should Take Judicial Notice of the Facts Set forth in ECF
           887.

           A. Norfolk Southern

        As Norfolk Southern explained in the Motion for Judicial Notice, each of the facts set forth

concerns the Class Action Settlement Agreement, is indisputably true, and is drawn from this

case’s judicial records whose authenticity is beyond questioning. They fall squarely under Federal

Rule of Evidence 201.

        Norfolk Southern has sought to ascertain GATX’s and OxyVinyls’s positions as to this

Motion on multiple occasions over the past week, first proposing a joint stipulation by email to

GATX’s and OxyVinyls’s counsel on March 20. Counsel for GATX explained in a responding

email that they would follow up with their position as to the Motion, but never did. Norfolk

Southern thus notified GATX’s and OxyVinyls’s counsel on March 25 that, “as we indicated we

                                                 10
    Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 11 of 24. PageID #: 60720




would do, we intend to file a motion for judicial notice today,” and subsequently proceeded to file

the Motion. This morning’s Meet and Confer at 10am was thus the first occasion that GATX and

OxyVinyls articulated their opposition to the Motion in general terms rather than with respect to

each individual fact proposed for notice. Norfolk Southern requested, and GATX and OxyVinyls

agreed, that the Defendants provide their portions of the joint submission to Norfolk Southern no

later than 11:00 A.M. ET, so that Norfolk Southern would have time to respond prior to the 12:00

P.M ET filing deadline. GATX and OxyVinyls did not provide a draft of their joint submission

on Norfolk Southern’s request for judicial notice until 11:47 AM and 11:36 AM, respectively,

denying Norfolk Southern any meaningful opportunity to respond to the specific bases of their

objections by the Court-ordered deadline.3

        The thrust of GATX’s and OxyVinyls’s objection to the Motion is that certain facts are

“incomplete” and taken out of context—or instance, GATX and OxyVinyls suggested that the

proposed fact that the Settlement Agreement discharged GATX and OxyVinyls of liability is

“incomplete” because there are opt-outs and objectors to the Settlement.                    But GATX and

OxyVinyls also made clear that there would not be a joint motion for judicial notice, regardless of

whether Norfolk Southern would be amenable to adding more facts that would allay purported

concerns of “incompleteness”—for instance, jointly proposing that the Court should take notice of

the liability release alongside the fact that there are opt-outs and objectors.

        Norfolk Southern reiterates that each of the three categories of facts is appropriate for

judicial notice under Federal Rule of Evidence 201. In what follows, Norfolk Southern addresses

GATX’s and OxyVinyls’s objections that have been ascertained to date.

         A. Facts on the Face of the Settlement Agreement


3
 OxyVinals sent a draft opposition to Norfolk Southern’s motion at 11:18 AM ET. Presumably, this draft could
have been shared as part of the meet and confer process.

                                                      11
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 12 of 24. PageID #: 60721




GATX and OxyVinyls object that the core, indisputable facts of the Settlement Agreement

proposed for notice are “incomplete.” But that there may be additional facts that GATX and

OxyVinyls would also like to have noticed does not negate the indisputable truth of the proposed

facts. For example, there is no question that the Settlement Fund consists of $600,000,000.00. If

OxyVinyls would like “to disclose to the jury how the $600 million is to be allocated,” OxyVinyls

LP’s Memorandum in Opposition at 2 (shared via email at 11:36am), then it could propose that

the Court take notice of those facts (or even the entirety of the operative section of the Settlement

Agreement) as well. Norfolk Southern is amenable to notice being taken of a more broadly scoped

portion of the Settlement that would provide the jury with information concerning the Settlement’s

allocation, the fact that there are objectors and opt-outs to the Settlement, “the identities of all of

the ‘Released Parties,’” id. at 2, and so on. Again, Norfolk Southern attempted to initiate with

GATX and OxyVinyls a joint stipulation, one which could incorporate such additional facts, but

this invitation was rejected.

       B. Facts Established by Prior Court Orders

       GATX and OxyVinyls do not deny that this Court’s prior Orders are authentic and the

identified facts contained within them indisputable.           Instead, OxyVinyls objects in its

Memorandum in Opposition (shared via email at 11:36am) that this Court’s determination that the

Settlement Agreement was reasonable is “irrelevant” to the reasonableness inquiry under Ohio.

Rev. Code § 2307.25(B). GATX did not articulate such an objection during this morning’s Meet

and Confer; to the contrary, GATX agreed that this Court’s prior reasonableness determination

was suitable for notice and could be put before the jury.

       In any event, OxyVinyls’s objection has little to recommend it. The suitability of this

Court’s prior reasonableness determination for judicial notice does not turn on whether the

reasonableness determinations are one and the same or distinct but overlapping. Moreover, this
                                                  12
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 13 of 24. PageID #: 60722




question is almost entirely academic, considering that even OxyVinyls agrees that the Settlement

Agreement will be deemed reasonable on appeal.

       C. Fact of the Class Action Plaintiffs’ Amended Complaint

       The Court should also take judicial notice of the fact that Class Plaintiffs’ Amended Master

Complaint includes the statement recited at ECF No. 887 at 4 (“This Consolidated Class Action

seeks redress for residents … and other combustible materials”). The fact that the Amended

Master Complaint includes this statement is beyond dispute, as is the authenticity of the Amended

Master Complaint. Norfolk Southern does not seek notice of the statement itself (i.e., for the

purpose of establishing the facts asserted by the statement). Norfolk Southern simply seeks notice

of the fact that the statement appears in the Amended Master Complaint. That fact is beyond

dispute.

           B. OxyVinyls

       OxyVinyls respectfully requests that the Court deny the motion of Norfolk Southern

Railway Company and Norfolk Southern Corporation (collectively, “Norfolk Southern”)

requesting judicial notice concerning the class action settlement (the “Motion”). (ECF No. 887.)

Norfolk Southern’s Motion should be denied because the “facts” at issue in Norfolk Southern’s

Motion are subject to dispute and are also irrelevant. Accordingly, the Motion must be denied.

                                    LAW AND ARGUMENT

       Norfolk Southern has requested that the Court take judicial notice of three categories of

“facts”: (1) those allegedly found in the class action settlement agreement; (2) those found in the

Court’s orders regarding the settlement; and (3) prior statements made by Class Plaintiffs. None

of the “facts” identified by Norfolk Southern are appropriately the subject of judicial notice.

       Rule 201 permits a court to take judicial notice of a fact that is “not subject to reasonable

dispute” because it (1) is “generally known within the trial court’s territorial jurisdiction;” or (2)
                                                 13
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 14 of 24. PageID #: 60723




“can be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” Fed. R. Evid. 201(b). “The rule proceeds upon the theory that . . . dispensing with

traditional methods of proof [should only occur] in clear cases.” United States v. Ferguson, 681

F.3d 826, 834 (6th Cir. 2012) (quoting Fed. R. Evid. 201(b) advisory committee’s note) (internal

quotation marks omitted). Courts should not take judicial notice of court records or judicial

proceedings “in order to discern the truth of the facts within that filing.” Jergens v. Ohio Dep't of

Rehab. & Corr. Adult Parole Auth., 492 Fed. App’x 567, 569 (6th Cir. 2012) (internal citation

omitted).

       A.      Judicial notice is improper for matters subject to dispute.

       The accuracy of the “facts” at issue in Norfolk Southern’s Motion can reasonably be and

are questioned by OxyVinyls.

               1.      The class action settlement agreement “facts” identified by Norfolk
                       Southern are incomplete.

       Each of the class action settlement agreement “facts” identified by Norfolk Southern is

materially misleading because each is incomplete.

       First, Norfolk Southern’s proposed stipulation regarding the settlement amount of $600

million fails to disclose to the jury how the $600 million is to be allocated and, therefore, presents

the misleading impression that all $600 million will go to the residents and businesses surrounding

East Palestine. (Class Action Settlement Agreement, ECF No. 452-2, at PageID #6021.)

       Second, Norfolk Southern’s proposed stipulation regarding the “Settlement Class” fails to

disclose that individuals could opt out of and have opted out of the Settlement Class. (Id., ECF

No. 452-2, at PageID ##6013-14, 6018-19.)

       Third, Norfolk Southern’s proposed stipulation regarding “Released Parties” and

“Released Claims” fails to disclose (a) the identities of all of the “Released Parties,” (b) that the

                                                 14
    Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 15 of 24. PageID #: 60724




definition of “Released Claims” expressly carves out “Personal Injury Claims,” and (c) that the

claims against the “Released Parties” are not extinguished until the Effective Date, which has not

occurred yet. (Id., ECF No. 452-2, at PageID ##6010, 6012-13, 6029-31.)

                  2.       The Court’s prior orders concerning the settlement are irrelevant,
                           needlessly cumulative, and contain information that is reasonably
                           questioned.

         The Court’s statements regarding the settlement are irrelevant for two reasons: (1) the

reasonableness question that the Court was deciding in approving the class action settlement is

different than the reasonableness question at issue in Ohio. Rev. Code § 2307.25(B),4 and (2)

because the Court has ordered, over the objection of the Third-Party Defendants, that “[n]o party

may argue or solicit testimony that the Class Action Settlement or its amount was not reasonable”

(Omnibus Order, ECF No. 885, PageID #60563), how the settlement was negotiated and the

factors that the Court considered in approving the class action settlement agreement are not of

consequence in determining the claims against the Third-Party Defendants. Fed. R. Evid. 401.

Furthermore, Norfolk Southern’s multiple proposed “facts” that the Court found the class action

settlement to be fair, adequate, and reasonable (Mot., ECF No. 887, PageID #60577) needlessly

present cumulative evidence. Fed. R. Evid. 403. If the Court will not allow the Third-Party

Defendants to challenge the amount that Norfolk Southern has agreed to pay in settlement as

unreasonable, then Norfolk Southern should not be permitted to present numerous conclusively



4
  Whether the class plaintiffs’ settlement with Norfolk Southern was fair, reasonable, and adequate is a different
question from whether Norfolk Southern can satisfy its burden of demonstrating that the amount it paid in settlement
was not in excess of what is reasonable. In determining whether the class action settlement was fair, reasonable, and
adequate, the Court was required to assess whether the settlement was fair, reasonable, and adequate to class
plaintiffs. Fed. R. Civ. P. 23(e)(2)(C) (“the relief provided for the class is adequate . . .”); see also Tr. of Fairness
Hr’g, ECF No. 553, at 114 (“my job here today is to determine whether or not the settlement is fair, reasonable and
adequate and in the best interests of the settlement class members.”) (emphasis added). By contrast, to establish a
right to contribution, Norfolk Southern must demonstrate, among other things, that any amount it has agreed to pay
in settlement was not in excess of what is reasonable. See Ohio Rev. Code § 2307.25(B); Westfield Ins. v. Chapel
Elec. Co. LLC, 2024-Ohio-2736, ¶ 138, 249 N.E.3d 266, 274 (Ct. App.).

                                                          15
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 16 of 24. PageID #: 60725




established “facts” to the jury that OxyVinyls has never had the opportunity to challenge and will

be deprived of having the opportunity to challenge at trial.

       Norfolk Southern’s proposed facts regarding the Court’s prior orders are also improper for

judicial notice because the information contained in the proposed facts is reasonably questioned.

Norfolk Southern has not provided, through discovery or otherwise, any information regarding the

settlement, including whether the settlement between Norfolk Southern and Class Plaintiffs was

“vigorously negotiated,” the factors that Norfolk Southern considered in entering into the class

action settlement, and if Norfolk Southern has paid “over half” of the settlement amount and, if

so, to whom. (Mot., ECF No. 887, PageID #60577.) Indeed, in noting that Norfolk Southern has

allegedly paid “over half” of the $600 million (Order, ECF No. 730, PageID #51832), the Court

cited to a filing by Norfolk Southern (Mot. for Leave to File Supplemental Pleading, ECF No. 569-

1, PageID #14684) that it would pay $310 million by a certain date. Norfolk Southern, however,

has not presented evidence that the payment has actually been made.

               3.      The allegations by Class Plaintiffs contained in the First Amended
                       Master Consolidated Complaint are misleading and irrelevant.

       Finally, Norfolk Southern’s proposed “fact” for judicial notice regarding one paragraph

contained in Class Plaintiff’s First Amended Master Consolidated Class Action Complaint fails to

adequately present the bases for Class Plaintiffs’ claims. For instance, the single proposed

paragraph does not reflect that Class Plaintiffs did not once plead in their First Amended Master

Consolidated Class Action Complaint any alleged errors with OxyVinyls’ safety data sheet, which

is now the focus of Norfolk Southern’s claims against OxyVinyls. Moreover, the single paragraph

proposed by Norfolk Southern for judicial notice could result in juror confusion that it is a

conclusively established fact that the Class Plaintiffs were “contaminat[ed]” by vinyl chloride

when the harm to Class Plaintiffs was never determined as a matter of law. Fed. R. Evid. 403;

                                                16
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 17 of 24. PageID #: 60726




Mot., ECF No. 887, PageID #887; see also Panezich v. Foley, Case No. 4:21-cv-331, 2024 U.S.

Dist. LEXIS 12661, at *31 (N.D. Ohio Jan. 5, 2024) (“The Court will not presume that any fact in

the document is indisputable and can appropriately be judicially noticed.”). Moreover, pleading

allegations, particularly those including inflammatory language, are irrelevant to whether Norfolk

Southern can satisfy its burden of demonstrating that OxyVinyls is a joint tortfeasor to Class

Plaintiffs and should be liable for contribution.

       B.      Norfolk Southern has the burden of establishing all elements of its
               contribution claim.

       It is Norfolk Southern’s burden to demonstrate to the jury that it is entitled to contribution

from OxyVinyls. In recognition of the fact that “plaintiffs have the burden of proof,” Norfolk

Southern even asked for additional time to present its case in chief at trial. (Joint Status Report,

ECF No. 779, at PageID #58518; see also Op. & Order Denying Norfolk Southern’s Mot. for

Partial Summ. J. against OxyVinyls, ECF No. 781, PageID #58542 (finding that “Norfolk

Southern bears the burden of proof at trial.”).)

       The Court should reject Norfolk Southern’s attempt to avoid having to present evidence

that can then be subject to cross examination from OxyVinyls. Trial presents the first opportunity

for OxyVinyls to challenge Norfolk Southern regarding the class action settlement agreement.

When granting preliminary approval of the class settlement, the Court ordered that “Persons or

Businesses that are not Settlement Class Members may not object to the Settlement.” (ECF No.

524, PageID #11560 (citing ECF No. 452-2, PageID #6017 & Fed. R. Civ. P. 23(e)(5)(A)).)

OxyVinyls was not a settlement class member. Therefore, OxyVinyls was prohibited from

objecting to the settlement. Further, in allowing Norfolk Southern to file a Supplemental Pleading

to assert a contribution claim, the Court expressly declined to allow the Third-Party Defendants to

file a motion to dismiss or a motion for summary judgment. (Order, ECF No. 730, PageID #51837-

                                                    17
   Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 18 of 24. PageID #: 60727




38.) Moreover, no fact or expert discovery occurred after the claim was pled.5 If Norfolk Southern

is permitted to avoid presenting a witness to testify regarding its settlement with Class Plaintiffs,

then OxyVinyls will once again be deprived of any opportunity to examine the scope of the

settlement.

              C. GATX

         GATX likewise opposes Norfolk Southern’s request for judicial notice. GATX does not

oppose Norfolk Southern presenting a witness to testify, or the Court informing the jury, that the

settlement was for $600,000,000.00 to resolve certain claims and that this Court found that the

settlement was fair reasonable and adequate to the class members. ECF 887 at I.1. GATX also

states that it understands the Court’s rulings on motions in limine, including the Court’s ruling that

“[n]o party may argue or solicit testimony that the Class Action settlement or its amount was not

reasonable.” ECF 885 at 1. GATX will follow the Court’s ruling and states that will not challenge

the reasonableness of the class action settlement to the jury. 6 GATX further states that, in light

of the Court’s rulings, and without waiving its appellate rights, it does not oppose Norfolk

Southern’s request that the jury be informed that the Court approved the class action settlement

with plaintiffs as fair, reasonable and adequate to the class members.

         The Court should deny the remaining portions of Norfolk Southern’s request for judicial

notice. Norfolk Southern asks that the Court take judicial notice of numerous alleged facts offered

in support of the proposed class settlement. See NS Mot. (ECF 887) at II.1, II.2, II.3 (discussing

“factors supporting the Court’s determination,” such as that the settlement was “vigorously



5
  And the Court has now, over Third-Party Defendants’ objection, effectively granted Norfolk Southern summary
judgment on the reasonable-amount element of its contribution claim in the guise of an evidentiary ruling. See Audio
Technica U.S., Inc. v. United States, 963 F.3d 569, 575 (6th Cir. 2020) (holding court erred by granting motion in
limine not to “address[] the admissibility of certain pieces or types of evidence,” but instead “to bar the jury from
hearing one side's argument, essentially granting them judgment as a matter of law on that point”).
6
  GATX does not waive any rights with respect to that ruling.

                                                         18
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 19 of 24. PageID #: 60728




negotiated,” and “reached with the assistance of … retired United States District Judge Layn

Phillips”). These facts are irrelevant to the issues being tried in this case and would, without full

context, unduly prejudice GATX. The Court’s prior rulings resolved the reasonableness issue as

to the class settlement. The jury will not be asked to decide whether the settlement was fair,

reasonable and adequate to the class. There is therefore no need to inform the jury about, e.g.,

whether “retired United States District Judge Layn Phillips” is “a highly qualified mediator,” or

facilitated the settlement “over the course of multiple mediation conferences.” ECF 887 at II.2.

Providing that information to the jury without allowing GATX to provide proper context would,

again, be highly prejudicial.

       Other purported facts Norfolk Southern seeks to “notice” – including “the positive

reactions of Settlement Class Members,” the class definition, the class members support the

settlement, the scope of the release, and the other requested judicially noticed facts -- are equally

irrelevant and likely to confuse and/or mislead the jury and prejudice GATX, particularly without

being placed in proper context. Norfolk Southern leaves out, for example, that had the settlement

not released GATX, then Norfolk Southern would have no contribution claim against GATX. The

complicated interplay between the release and Norfolk Southern’s released claims again is not

relevant and invites only a confusing distraction if placed before the jury. Similarly, Norfolk

Southern’s statement that it has paid “over half” of the $600,000,000 obligation is also misleading

and confusing. ECF 887 at II.4. The statement leaves out that Norfolk Southern may not pay the

remainder until after appeals relating to the settlement are resolved, and if Norfolk Southern does

not pay the remainder because of an adverse result on appeal, then Norfolk Southern will not have

any contribution claim against GATX. This again goes far beyond the issues the jury needs to




                                                 19
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 20 of 24. PageID #: 60729




decide. Further, these are issues that are “capable of reasonable dispute” and so are “not subject

to judicial notice.” United States v. Collier, 68 Fed. App’x 676, 683 (6th Cir. 2003).




                                                20
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 21 of 24. PageID #: 60730




Dated: March 27, 2025                          Respectfully submitted,

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                                          21
 Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 22 of 24. PageID #: 60731




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                                         22
Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 23 of 24. PageID #: 60732




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                                    23
  Case: 4:23-cv-00242-BYP Doc #: 902 Filed: 03/27/25 24 of 24. PageID #: 60733




                                  CERTIFICATE OF SERVICE

          I hereby certify that, on March 27, 2025, a copy of the foregoing was served on all parties

of record via the Court’s CM/ECF system, which will provide electronic notice to all counsel of

record.

                                                       /s/ Hariklia Karis
                                                       Hariklia Karis




                                                  24
